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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 23-1114-GW-KKx                                                  Date    May 14, 2025
 Title             Julie Barfuss, et al. v. Live Nation Entertainment, Inc., et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                              None Present
                 Deputy Clerk                         Court Reporter / Recorder                     Tape No.
                Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                         None Present                                             None Present
 PROCEEDINGS:                IN CHAMBERS - TENTATIVE RULINGS ON DEFENDANTS'
                             MOTION TO DISMISS THIRD AMENDED COMPLAINT [138];
                             DEFENDANT STADCO LA, LLC'S MOTION TO DISMISS
                             PLAINTIFFS' CLAIMS AGAINST DEFENDANT PURSUANT TO
                             RULE 12(B)(6) [154]; and DEFENDANTS' MOTION FOR SANCTIONS
                             [140]


Attached hereto is the Court’s Tentative Rulings on the above-entitled Motions [138, 154], set for
hearing on May 15, 2025 at 8:30 a.m.




                                                                                                     :
                                                                 Initials of Preparer    JG
CV-90 (06/04)                                   CIVIL MINUTES - GENERAL                                      Page 1 of 1
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 Julie Barfuss et al v. Live Nation Entertainment, Inc. et al; Case No. 2:23-cv-01114-GW-(DTBx)
 Tentative Rulings on: (1) Ticketmaster’s and Live Nation’s Motion to Dismiss the Third Amended
 Complaint, (2) Ticketmaster’s and Live Nation’s Motion to Compel Arbitration, (3)
 Ticketmaster’s and Live Nation’s Motion for Sanctions, (4) StadCo’s Motion to Dismiss, and (5)
 StadCo’s Motion to Compel Arbitration


          Before the Court are Ticketmaster’s and Live Nation’s Motion to Dismiss (“MTD #1,”
 Docket No. 138) and StadCo’s Motion to Dismiss (“MTD #2,” Docket No. 154).1 2 The Court has
 considered the Motions as well as Plaintiffs’ opposition briefs and Defendants’ reply briefs. For
 the reasons stated herein, the Court would GRANT the Motions with leave to amend in part, with
 the exception that the Court will entertain further argument on the negligence claim at the hearing.




     1
       Ticketmaster’s and Live Nation’s Motion to Compel Arbitration (“Motion to Compel #1,” Docket No. 139), and
 StadCo’s Motion to Compel Arbitration (“Motion to Compel #2,” Docket No. 154), have been withdrawn. See Docket
 Nos. 159, 160.
      In their Motions to Compel Arbitration, Defendants argued that even if the Court were to find that Plaintiffs have
 stated a viable claim for relief, the claims of five of the 355 Plaintiffs (Clay Murray, Heather Slack, Eleana Villa,
 Elmer Bunger, and Virginia Spielman) (“The JAMS Plaintiffs”) fail for the additional reason that they agreed to
 arbitrate all disputes at JAMS. See Motion to Compel #1 at 1; Motion to Compel #2 at 3.
      Plaintiffs responded by asserting that this was a misunderstanding based on the email addresses used by the JAMS
 Plaintiffs; Defendants were under the mistaken impression that the JAMS Plaintiffs had not signed the New Era ADR
 Terms of Use when attempting to purchase Taylor Swift tickets because they did so with a different email address.
 Motion to Compel #1 Opp., Docket No. 151 at 2. Each of the five Plaintiffs put forth a declaration, attesting to this
 email discrepancy. See Docket No. 151-1.
      Defendants subsequently withdrew their Motions to Compel Arbitration. See Docket Nos. 159, 160.
     2
        Ticketmaster and Live Nation’s Motion for Sanctions, see Docket No. 140, has been rendered moot.
      Ticketmaster and Live Nation moved for sanctions against Plaintiffs on the grounds that their core allegations
 regarding the sale and resale of tickets for Taylor Swift’s “The Eras” Tour were “objectively baseless,” and counsel
 “failed to make a reasonable inquiry into the facts underlying their allegations.” See Motion for Sanctions at 1.
 Ticketmaster and Live Nation asserted that Plaintiffs’ claims were based on three false premises that Plaintiffs knew
 to be false: “(1) that there was no cost-free way to register for Ticketmaster’s Verified Fan program for The Eras Tour;
 (2) that all registrants for the program were guaranteed a code to participate in the onsale; and (3) that Ticketmaster
 was the sole authorized channel for the resale of tickets to the tour.” Id. Ticketmaster and Live Nation contend, citing
 to multiple websites substantiating their claims, that “(1) registration for the Verified Fan program was completely
 free; (2) registrants were specifically advised that registration did not guarantee access to the onsale; and (3)
 Ticketmaster, unlike its competitors in secondary ticketing, did not host resale listings for United States stops of The
 Eras Tour.” Id.
      In response, Plaintiffs made three admissions: (1) “The TAC does not allege as fact that there was no cost-free
 way to become a Verified Fan for The Eras Tour,” see Sanctions Opp., Docket No 153 at 7 (internal quotation marks
 omitted); (2) “The TAC does not allege as fact that all Verified Fans were guaranteed a code to participate in the Eras
 Tour sale,” id. at 8 (internal quotation marks omitted); and (3) “The TAC does not allege as fact that Ticketmaster
 was the sole authorized channel for the resale of tickets to The Eras Tour,” id. (internal quotation marks omitted).
      Accepting these “binding judicial admissions that none of the challenged statements are ‘allege[d] as fact,’”
 Ticketmaster and Live Nation concluded that the Motion for Sanctions was “moot.” See Sanctions Reply, Docket No.
 162 at 3. For that reason, the Court will not consider the Motion for Sanctions.



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 I.          Background
             Julie Barfuss along with 49 other individuals initiated this action against Live Nation
 Entertainment, Inc. (“Live Nation”) and Ticketmaster L.L.C. (“Ticketmaster”) (collectively,
 “Defendants”) in the Superior Court of California, County of Los Angeles, on December 5, 2022.
 Barfuss et al. (“Plaintiffs”) filed a First Amended Complaint (“FAC”) on December 14, 2022, see
 Docket No. 1-1, a Second Amended Complaint (“SAC”) on April 6, 2023, see Docket No. 44, and
 a Third Amended Complaint (“TAC”) on January 27, 2025, see Docket No. 128.3 The TAC brings
 six causes of action for: (1) breach of contract; (2) fraud; (3) negligent misrepresentation; (4)
 negligence; (5) antitrust violations (unlawful tying, exclusive dealings, price discrimination, price
 fixing, group boycotting, and a market division scheme); and (6) violation of California’s Unfair
 Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200, et seq.4 See TAC ¶¶ 396-496. It
 seeks unspecified damages (including actual damages, punitive damages, and treble damages),
 injunctive relief, civil penalties, attorneys’ fees, and other forms of relief. See id. The Court’s
 review of the TAC reveals the following allegations.5
             Ticketmaster, in conjunction with its parent company, Live Nation, and stadium owners
 like StadCo, engage in anticompetitive conduct to force fans to use Ticketmaster for presales,
 general sales, and secondary sales, charging “prices that exceed what a competitive market would
 dictate.” TAC ¶ 1. Leveraging Live Nation’s relationship with concert venues around the country,
 Ticketmaster controls between 70 and 80% of the primary ticketing market for such venues. Id. ¶
 370. Venues also promote Ticketmaster as the only “official” secondary ticketing exchange,
 giving Ticketmaster a significant advantage in the secondary ticketing market, where it promotes
 scalpers in order to increase the fees it earns. Id. ¶¶ 371, 375.
             In November 2022, Plaintiffs were victims of the “well-publicized ticket presale disaster”
 for Taylor Swift’s “The Eras” Tour. Id. ¶ 3. There were two presales through which Plaintiffs
 experienced injury: the TaylorSwiftTix presale, for which fans were required to register with


      3
          There are now 355 named Plaintiffs involved in the action.
      4
       The TAC adds StadCo LA, LLC (“StadCo”), which “owns and operates SoFi Stadium,” see TAC ¶ 366, as the
 third named Defendant. Plaintiffs later limited the claims it seeks to bring against StadCo. See Notice of Dismissal
 of Certain Claims, Docket No. 150.
      5
      The well-pled facts therein are accepted as true for the purpose of this ruling. See Sprewell v. Golden State
 Warriors, 266 F.3d 979, 988 (9th Cir.), amended on denial of reh’g, 275 F.3d 1187 (9th Cir. 2001).



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 Ticketmaster’s Verified Fan program, and the Capital One presale, which was limited to Capital
 One cardholders. Id. ¶¶ 378, 380. Ticketmaster, which “at all times controlled the registration and
 access to Taylor Swift’s ‘The Eras’ Tour tickets,” engaged in several acts that harmed Plaintiffs.
 Id. ¶ 373. Ticketmaster (1) “intentionally and purposefully misled ticket purchasers by allowing
 scalpers and bots access to TaylorSwiftTix presale,” resulting in verified fans and Capital One
 cardholders being promised presale codes that did not come or receiving codes that did not work
 and ultimately not receiving tickets, see id. ¶¶ 378-85, (2) “intentionally and knowingly allowed
 TaylorSwiftTix presale purchasers to purchase VIP tickets knowing that the mailed portion of the
 VIP package would be voided and never reach the fan,” id. ¶ 387; (3) “intentionally and knowingly
 sold obstructed view tickets without purchasers knowing that the tickets were obstructed,” id. ¶
 388; (4) provided tickets at seat locations other than those for which Plaintiffs purchased their
 tickets, id. ¶ 404; (5) “knowingly and intentionally allowed tickets to be removed from a
 purchaser’s order” by bots and scalpers without giving purchasers “adequate time to review
 waivers and releases and complete their purchases,” id. ¶¶ 390-91; and (6) sold “ADA-compliant
 seats… without verification of disability or need,” id. ¶ 392.
           Before the Court are Ticketmaster and Live Nation’s Motion to Dismiss and StadCo’s
 Motion to Dismiss.
 II.       Legal Standard
           Under Federal Rule of Civil Procedure 12(b)(6), a party may bring a motion to dismiss for
 failure to state a claim upon which relief can be granted. Rule 12(b)(6) must be read in conjunction
 with Federal Rule of Civil Procedure 8(a), which requires a “short and plain statement of the claim
 showing that a pleader is entitled to relief,” in order to give the defendant “fair notice of what the
 claim is and the grounds upon which it rests.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555
 (2007).
           Under Rule 12(b)(6), the court must: (1) construe the complaint in the light most favorable
 to the plaintiff, and (2) accept all well-pleaded factual allegations as true, as well as all reasonable
 inferences to be drawn from them. See Sprewell, 266 F.3d at 988; Pareto v. F.D.I.C., 139 F.3d
 696, 699 (9th Cir. 1998). In its consideration of the motion, the court is limited to the allegations
 on the face of the complaint (including documents attached thereto), matters which are properly
 judicially noticeable, and “documents whose contents are alleged in a complaint and whose
 authenticity no party questions, but which are not physically attached to the pleading.” Branch v.


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 Tunnell, 14 F.3d 449, 453-54 (9th Cir. 1994), overruled on other grounds by Galbraith v. Cnty. of
 Santa Clara, 307 F.3d 1119 (9th Cir. 2002); Lee v. City of Los Angeles, 250 F.3d 668, 688-89 (9th
 Cir. 2001). Dismissal pursuant to Rule 12(b)(6) is proper only where there is either a “lack of a
 cognizable legal theory or the absence of sufficient facts alleged under a cognizable legal theory.”
 Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1988); Johnson v. Riverside
 Healthcare Sys., LP, 534 F.3d 1116, 1121-22 (9th Cir. 2008); see also Twombly, 550 U.S. at 561-
 63 (dismissal for failure to state a claim does not require the appearance, beyond a doubt, that the
 plaintiff can prove “no set of facts” in support of its claim that would entitle it to relief).
         Under Rule 9(b), a party “alleging fraud or mistake ... must state with particularity the
 circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b). To satisfy Rule 9(b)’s
 particularity requirement, the complaint must include “an account of the ‘time, place, and specific
 content of the false representations as well as the identities of the parties to the
 misrepresentations.’” Swartz v. KPMG LLP, 476 F.3d 756, 764 (9th Cir. 2007) (quoting Edwards
 v. Marin Park, Inc., 356 F.3d 1058, 1066 (9th Cir. 2004)). In other words, the pleading “must
 ‘identify the who, what, when, where, and how of the misconduct charged, as well as what is false
 or misleading about the purportedly fraudulent statement, and why it is false.’” Salameh v.
 Tarsadia Hotel, 726 F.3d 1124, 1133 (9th Cir. 2013) (quoting United States ex rel. Cafasso v. Gen.
 Dynamics C4 Sys., Inc., 637 F.3d 1047, 1055 (9th Cir. 2011)). However, “intent, knowledge, and
 other conditions of a person’s mind may be alleged generally.” Fed. R. Civ. P. 9(b); see also
 Neubronner v. Milken, 6 F.3d 666, 672 (9th Cir. 1993) (explaining that Rule 9(b)’s heightened
 pleading standard may be relaxed when the allegations of fraud relate to matters particularly within
 the opposing party’s knowledge, such that a plaintiff cannot be expected to have personal
 knowledge).
         Under Federal Rule of Civil Procedure 15(a)(2), federal courts are instructed to “freely
 give leave [to amend] when justice so requires.” Fed. R. Civ. P. 15(a). A district court, however,
 may in its discretion deny leave to amend “due to ‘undue delay, bad faith or dilatory motive on the
 part of the movant, repeated failure to cure deficiencies by amendments previously allowed, undue
 prejudice to the opposing party by virtue of allowance of the amendment, [and] futility of
 amendment.’” Leadsinger, Inc. v. BMG Music Pub., 512 F.3d 522, 532 (9th Cir. 2008) (quoting
 Foman v. Davis, 371 U.S. 178, 182 (1962)).




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 III.    Discussion
         Ticketmaster and Live Nation seek to dismiss the TAC in its entirety without leave to
 amend. They argue that Plaintiffs fail to plausibly allege (1) a breach of contract; (2) fraud or
 negligent misrepresentation; (3) negligence; (4) any antitrust violation; or (5) a UCL claim. See
 generally MTD #1. StadCo seeks to dismiss all claims Plaintiffs bring against it, arguing that
 Plaintiffs have failed to allege any involvement of StadCo, let alone an antitrust or UCL violation.
 See generally MTD #2.
            1. Breach of Contract
         “To allege a cause of action for breach of contract, a plaintiff must allege, (1) the contract,
 (2) plaintiff’s performance or excuse for nonperformance, (3) defendant’s breach, and (4) the
 resulting damages to plaintiff.” Bushell v. JPMorgan Chase Bank, N.A., 220 Cal. App. 4th 915,
 921 (2013) (internal quotation marks and citation omitted). Defendants assert that Plaintiffs fail
 to plead a contract with the required specificity and do not plausibly allege any breach. MTD # 1
 at 7.
         Plaintiffs allege two breach of contract theories, one before ticket purchase and one after.
 TAC ¶¶ 397-405. Regarding the first, Plaintiffs allege that each of them entered into a contract
 with Ticketmaster on November 15, 2022, in which “Ticketmaster agreed that, in exchange for
 Plaintiffs purchasing a significant amount of merchandise and/or in exchange for their purchase of
 the canceled ‘Lover’s Fest’ tickets, Plaintiffs would be entitled to participate [as a verified fan] in
 the presale of ‘The Eras’ tour tickets.” Id. ¶ 397. Plaintiffs claim that Ticketmaster breached the
 contract by failing to provide a “proper presale,” in that it “did not exclude those without codes,”
 “did not give out codes to those who qualified,” and “did not give those with codes the fair chance
 to get a ticket they were entitled to.” Id. ¶ 399. Regarding the second contract claim, Plaintiffs
 allege that as part of the same November 15, 2022 contract, Ticketmaster agreed to provide tickets
 when purchased at an agreed-upon price. Id. ¶ 401. Plaintiffs allege that Ticketmaster breached
 this contract when it took tickets away from certain Plaintiffs weeks and months after purchase,
 increased prices during Plaintiffs’ purchases, provided seats at locations different from the seats
 purchased, and provided no refund or other compensation. Id. ¶¶ 401, 404.
         In order to plead the existence of a contract, the complaint, at a minimum, “must identify
 the specific provision of the contract allegedly breached by the defendant.” Donohue v. Apple,
 Inc., 871 F. Supp. 2d 913, 930 (N.D. Cal. 2012) (citation omitted); DeLeon v. Wells Fargo Bank,


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 N.A., 5:10-cv-01390-LHK, 2011 WL 311376, at *10 (N.D. Cal. Jan. 28, 2011) (plaintiff must
 allege sufficient facts “to allow the Court to draw a reasonable inference that [there was a] definite
 promise, supported by consideration, that would establish a binding and enforceable contract”).
 Defendants argue that because Plaintiffs failed to attach the alleged contract to the TAC or plead
 its essential terms with particularity, the breach of contract claims should be dismissed.6 In their
 Motion to Dismiss, Defendants sought to clarify whether Plaintiffs were referring to the Verified
 Fan Terms or to some other agreement. See MTD #1 at 8. Plaintiffs do not clarify what document
 they are referring to and argue that it is not necessary for them to provide the contract as long as
 the Court can “generally… discern… what material obligation of the contract the defendant
 allegedly breached,” see MTD #1 Opp. (citing Albert’s Organics, Inc. v. Holzman, 445 F. Supp.
 3d 463, 476 (N.D. Cal. 2020), and that they have made the terms of the agreement clear.
          The Court finds that at this point, Plaintiffs have failed to allege with the requisite
 particularity the existence of a contract. There are many issues with Plaintiffs’ breach of contract
 theory. Firstly, Plaintiffs have suggested that the alleged contract contained certain terms (though
 those terms are often only vaguely described), but they have not stated from where these terms
 were derived, even after Defendants demonstrated this lack of clarity in their Motion to Dismiss.
 See MTD Opp. #1 at 4-5. The Court is left without a clear impression of how Plaintiffs were
 presented with the alleged contract, leading to confusion about what its terms truly were.7
 Furthermore, regarding the first contract theory (that before ticket purchase), Plaintiffs’ allegation
 that “Ticketmaster agreed that, in exchange for Plaintiffs purchasing a significant amount of
 merchandise and/or in exchange for their purchase of the canceled ‘Lover’s Fest’ tickets, Plaintiffs
 would be entitled to participate [as a verified fan] in the presale of ‘The Eras’ tour tickets,” TAC
 ¶ 397, appears to conflict with their Sanctions Opposition, which states that Plaintiffs “[do] not
 allege as fact that there was no cost-free way to become a Verified Fan for The Eras Tour” and
 “[do] not in any way suggest ‘that all Verified Fans were guaranteed a code to participate in’ the
 Eras Tour sale,” Sanctions Opp. at 7-8. If the contract Plaintiffs reference is the Verified Fan



      6
        For the purposes of the Breach of Contract section, the Court will refer to Ticketmaster and Live Nation
 collectively as “Defendants,” as Plaintiffs have not alleged that StadCo is liable for breach of contract. See generally
 TAC.
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       Defendants raised the possibility that the contract is the Verified Fan Terms, see MTD #1 at 8, but Plaintiffs did
 not respond to this open question.

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 Terms, which are incorporated by reference in the TAC,8 it appears that those terms also directly
 contradict Plaintiffs’ allegations. See Docket No. 138-3 (“A PURCHASE OR PAYMENT OF
 ANY KIND WILL NOT INCREASE YOUR CHANCES OF GETTING AN ACCESS CODE.”).
 Particularly considering the seeming contradiction, more specificity from Plaintiffs in terms of
 what Defendants represented is required. The Court is currently left to guess not only what form
 the contract took and how the parties agreed to it, but also what its terms truly were. See A.B.
 Concrete Coating Inc. v. Wells Fargo Bank, Nat’l Ass’n, 491 F. Supp. 3d 727, 736 (E.D. Cal.
 2020) (“[T]he contract’s nature or purpose cannot be discerned from plaintiff’s minimal factual
 allegations.”).9 The Motion to Dismiss is thus GRANTED with regard to the breach of contract
 claim with leave to amend.
              2. Fraud and Negligent Misrepresentation
          “The essential elements of a count for intentional misrepresentation are (1) a
 misrepresentation, (2) knowledge of falsity, (3) intent to induce reliance, (4) actual and justifiable
 reliance, and (5) resulting damage.” Chapman v. Skype Inc., 220 Cal. App. 4th 217, 230-31 (2013).
 “The essential elements of a count for negligent misrepresentation are the same except that it does
 not require knowledge of falsity but instead requires a misrepresentation of fact by a person who
 has no reasonable grounds for believing it to be true.” Id. at 231. Federal Rule of Civil Procedure
 9(b) provides: “In alleging fraud or mistake, a party must state with particularity the circumstances
 constituting fraud or mistake. Malice, intent, knowledge, and other conditions of a person’s mind
 may be alleged generally.” Fed. R. Civ. P. 9(b). This heightened pleading standard applies to both
 fraud claims and negligent misrepresentation claims if specific allegations of fraud are made. See
 Cambridge Lane, LLC v. J-M Mfg. Co., Inc., No. 2:10-cv-06638-GW-MAR, 2020 WL 8410437,
 at *7 (C.D. Cal. May 14, 2020). The pleading “must ‘identify the who, what, when, where, and
 how of the misconduct charged, as well as what is false or misleading about the purportedly


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       “Even if a document is not attached to a complaint, it may be incorporated by reference into a complaint if the
 plaintiff refers extensively to the document or the document forms the basis of the plaintiff’s claim.” United States v.
 Ritchie, 342 F.3d 903, 908 (9th Cir. 2003). Plaintiffs did not object to its incorporation.
     9
       The Court would note that the second contract theory (that after ticket purchase) appears more plausible but still
 suffers from a lack of clarity around what form the contract took, how the parties agreed to it, and whether its alleged
 terms conflict with judicially noticeable material. Furthermore, Defendants raised the point that Plaintiffs state
 inconsistent theories when they claim that all Plaintiffs were harmed when they did not secure tickets but also that all
 Plaintiffs were harmed when they did secure tickets on terms allegedly different from those promised. See MTD #1
 at 8. Plaintiffs have not responded to this argument but may do so at the hearing.



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 fraudulent statement, and why it is false.’” Salameh, 726 F.3d at 1133 (quoting United States ex
 rel. Cafasso., 637 F.3d at 1055).
          Plaintiffs cite Walling v. Beverly Enters., 476 F.2d 393, 397 (9th Cir. 1973) for the
 contention that a pleading suffices under Rule 9(b) if it identifies “the circumstances constituting
 fraud so that the defendant can prepare an adequate answer from the allegations.” MTD Opp. at
 6. Plaintiffs claim to meet this standard, highlighting five allegations (1) “Ticketmaster made out
 that spending enough would get a buyer a code and they would have a fair chance to get a ticket,”
 TAC ¶ 409; (2) “Ticketmaster made it appear as if only those with codes would be able to join the
 presale, but millions of buyers without codes were able to get tickets,” id. ¶ 408; (3)
 “[Ticketmaster] warned buyers, including Plaintiffs, not to use their phones to purchase tickets
 from its site… [and] instead advised using a laptop or desktop computer,” id. ¶ 411; (4)
 Ticketmaster promised and represented “to buyers of the canceled Taylor Swift ‘Lover Fest’
 tour… that their purchases for that prior tour would advantage them in acquiring tickets for The
 Eras tour,” id. ¶ 412; and (5) “[Ticketmaster] caused prospective purchasers to believe that
 participating in [the Capital One] program would increase their chance of getting tickets,” id. ¶
 413.
          Defendants argue that the alleged “untruths” fail under 9(b) because they lack detail, are
 contradicted by the Verified Fan Terms or Plaintiffs’ Opposition to Defendants’ Motion for
 Sanctions, or are immaterial.10             Defendants assert that “Plaintiffs’ fraud and negligent
 misrepresentation claims boil down to Plaintiffs’ insistence that they were led to believe—by
 somebody, via some statement or statements, located somewhere on Ticketmaster’s website, that
 some or all of them saw at some time ‘before … or on November 15, 2022’—that the onsale for
 The Eras Tour would somehow go differently than Plaintiffs now think it did.” MTD #1 Reply at
 7 (citing MTD #1 Opp. at 7).
          While Walling, on which Plaintiffs rely, focuses on the ability of the defendant to “prepare
 an adequate answer from the allegations,” subsequent Ninth Circuit cases have more fulsomely
 defined what this requires. In Schreiber Distrib. Co. v. Serv-Well Furniture Co., 806 F.2d 1393,
 1401 (9th Cir. 1986), the Ninth Circuit held: “We have interpreted Rule 9(b) to mean that the



     10
       For the purposes of the Fraud and Negligent Misrepresentation section, the Court will refer to Ticketmaster and
 Live Nation collectively as “Defendants,” as Plaintiffs have not alleged that StadCo is liable fraud or negligent
 misrepresentation. See Notice of Dismissal of Certain Claims, Docket No. 150.

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 pleader must state the time, place, and specific content of the false representations as well as the
 identities of the parties to the misrepresentation.” Later cases have built upon this standard. See
 Edwards v. Marin Park, Inc., 356 F.3d 1058, 1066 (9th Cir. 2004) (dismissing as insufficient under
 9(b) a complaint that described the time and place of purportedly fraudulent legal notices but
 “contain[ed] not a word of the notices’ specific contents” and failed to “attach the notices to [the]
 complaint”); Kearns v. Ford Motor Co., 567 F.3d 1120, 1126 (9th Cir. 2009) (dismissing as
 insufficient under 9(b) a complaint in part because nowhere did the plaintiff “specify what the
 [allegedly fraudulent] television advertisements or other sales material specifically stated”); see
 also Depot, Inc. v. Caring for Montanans, Inc., 915 F.3d 643, 668 (9th Cir. 2019) (“[T]he pleading
 must identify the who, what, when, where, and how of the misconduct charged, as well as what is
 false or misleading about the purportedly fraudulent statement, and why it is false.”) (internal
 quotation marks omitted).
        In their opposition, Plaintiffs refer to seven statements that they claim were fraudulent, see
 MTD #1 Opp. at 6-7; due to the overlapping nature of these statements, the Court has simplified
 the alleged fraudulent statements to the five listed above. Once again, there are multiple issues
 with Plaintiffs claims.     Firstly, while the Plaintiffs state in their opposition that the
 misrepresentations appeared on Ticketmaster’s website, see MTD #1 Opp. at 7, there appears to
 be no mention of this in the TAC, see generally TAC. If indeed the alleged misrepresentations
 were on the website, Plaintiffs should describe where on the website they were and how they came
 into contact with the statements.         Furthermore, regarding the content of the alleged
 misrepresentations, Statements 1, 2, and 4 appear to be directly contradicted by the Verified Fan
 Terms and Plaintiffs’ admissions in their Sanctions Opp. As Plaintiffs have stated that (1) “The
 TAC does not allege as fact that there was no cost-free way to become a Verified Fan for The Eras
 Tour,” see Opposition to Motion for Sanctions at 7 (internal quotation marks omitted); and (2)
 “The TAC does not allege as fact that all Verified Fans were guaranteed a code to participate in
 the Eras Tour sale,” id. at 8 (internal quotation marks omitted), and the Verified Fan Terms stated
 “A PURCHASE OR PAYMENT OF ANY KIND WILL NOT INCREASE YOUR CHANCES
 OF GETTING AN ACCESS CODE,” see Docket No. 138-3 at 3, it is not clear to the Court how
 Plaintiffs were misled by Defendants to believe otherwise. Particularly considering the seeming
 contradiction, more specificity from Plaintiffs in terms of what Defendants represented and how it
 made them believe something that was false, is required. See Edwards, 356 F.3d at 1066


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 (dismissing as insufficient under 9(b) a complaint that “contain[ed] not a word of the notices’
 specific contents” and failed to “attach the notices to [the] complaint”). The third and fifth alleged
 misrepresentations are also lacking for additional reasons. Regarding the third, it is not clear to
 the Court why Defendants’ advice regarding procuring tickets on a smartphone versus a computer
 is material or constitutes a misrepresentation; furthermore, more detail is required under 9(b) to
 substantiate such allegations.11 Regarding the fifth, it is not clear to the Court that participation in
 the Capital One sale did not increase Plaintiffs chances of getting tickets. The Motion to Dismiss
 is thus GRANTED with regard to the fraud and negligent misrepresentation claims with leave to
 amend.
          The Court recommends to Plaintiffs that, in amending their fraud claims, they clearly
 separate out each alleged misrepresentation, followed (or joined) immediately by the “who, what,
 when, where and how” details that must accompany the allegation,12 along with an explanation for
 how the statement/representation was misleading/false when made.
              3. Negligence
          To establish negligence, Plaintiffs must plausibly allege: (1) a legal duty of care owed by
 the defendant to the plaintiff, (2) a breach of that duty, (3) causation linking the breach to the
 plaintiff’s injury, and (4) actual damages. Ladd v. Cnty. of San Mateo, 12 Cal. 4th 913, 917 (1996).
 A legal duty of care “means the duty to use ordinary care in activities from which harm to the
 plaintiff might reasonably be anticipated.” Pirozzi v. Apple Inc., 913 F. Supp. 2d 840, 851 (N.D.
 Cal. 2012) (citing 6 Witkin, Summary of Cal. Law, Torts § 835, p. 53 (10th ed. 2005)).
          The TAC alleges that “Ticketmaster has failed to use reasonable care” in that it neglects to
 “employ the types of tools routinely used by other [similar] online [ticket] sellers… to
 accommodate the traffic” on its site. TAC ¶ 426. Plaintiffs explain that Ticketmaster has “ceded”
 the responsibility to “maintain its platform adequately” to “data security providers such as Amazon
 by using [their] CloudFront product,” but has purchased a lower-grade version of the product that
 does not have “sufficient capacity to deal with the issues that Ticketmaster reasonably should know



      11
         That some phone users may have procured tickets before some computer users does not necessarily even suggest
 that using a phone was a more effective method of procuring tickets.
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        In brief, the Court agrees with Defendant that those details are not sufficiently pled thus far, and that neither
 Defendant nor the Court should have to examine “the context” of Plaintiff’s allegations to make educated guesses at
 those details.

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 its platform faces.” Id. ¶ 427. They further claim that “Ticketmaster has allowed other third
 parties, such as Klarna and Monetate, to run software on its platform that may impede its
 functioning.” Id. These issues cause “unreasonable delay,” lead to “unauthorized traffic” on the
 platform,” and lead to “fail[ures] [in] process[ing] user input accurately (or at all).” Id. ¶ 425.
          Defendants attack only the duty element.13                 They assert that “as a matter of law,
 Ticketmaster does not owe any legal duty to Plaintiffs to ensure that a high-demand onsale like
 The Eras Tour (or any onsale) will be free from a third party’s illicit attempt to attack the platform,
 or to ensure that third parties properly run their software on the platform.” MTD # 1 at 11.
          Plaintiffs assert a theory based in contract, citing N. Am. Chem. Co. v. Superior Ct., 59 Cal.
 App. 4th 764, 766 (1997) for the proposition that “[a] contract to perform services gives rise to a
 duty of care that requires that such services be performed in a competent and reasonable manner...
 [and] [a] negligent failure to do so may be both a breach of contract and a tort.” As Plaintiffs have
 failed to adequately plead the existence of a contract, this theory fails.14 To the extent Plaintiffs
 are asserting the duty arises from elsewhere, they should say so.
          Furthermore, while it is generally true, as Ticketmaster and Live Nation point out, that “one
 owes no duty to control the conduct of another, nor to warn those endangered by such conduct,”
 Regents of Univ. of California v. Superior Ct., 4 Cal. 5th 607, 619 (2018), “[t]he no-duty-to-protect
 rule is not absolute.” Brown v. USA Taekwondo, 11 Cal. 5th 204, 215 (2021). “In a case involving
 harm caused by a third party, a person may have an affirmative duty to protect the victim of
 another’s harm if that person is in what the law calls a ‘special relationship’ with either the victim
 or the person who created the harm.” Id. “[A] special relationship between the defendant and the
 dangerous third party is one that ‘entails an ability to control [the third party’s] conduct.’” Id. at
 216. Because “[t]he existence of such a special relationship puts the defendant in a unique position
 to protect the plaintiff from injury… The law requires the defendant to use this position
 accordingly.” Id. Still, even if an exception to the no-duty-to-protect rule is found, the Court must
 then “weigh[] the Rowland factors to see if a duty should be imposed.” Jackson v. Airbnb, Inc.,



     13
        For the purposes of the negligence section, the Court will refer to Ticketmaster and Live Nation collectively as
 “Defendants,” as Plaintiffs have not alleged that StadCo is liable negligence. See generally TAC.
     14
         Defendants also assert that a person “‘may not ordinarily recover in tort for the breach of duties that merely
 restate contractual obligations.’” MTD #1 Reply at 8 (citing Aas v. Superior Ct., 24 Cal. 4th 627, 643 (2000)).



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 639 F. Supp. 3d 994, 1006 (C.D. Cal. 2022) (citing Brown, 11 Cal. 5th at 212-13).15
          Here, Plaintiffs have alleged that Ticketmaster has the ability to control scalpers through
 third-party security providers, but it has opted to “ally” with scalpers instead because it “gets
 additional fees every time a ticket is resold, and Ticketmaster is the only place where tickets can
 be ‘officially’ resold.” TAC ¶¶ 458, 463. Further, they have alleged that Ticketmaster controls
 other third parties, such as Klarna and Monetate, and allows them “to run software on its platform
 that may impede its functioning.” Id. at 427. Still, Plaintiffs have made no attempt to argue that
 such a special relationship exists or that the Rowland factors are satisfied. Given this, the Court
 will allow further argument on this point at the hearing should Plaintiffs believe they can triumph
 on this argument.
              4. Antitrust Violations
          Plaintiffs allege that “Ticketmaster, including in collusion with SoFi Stadium and its own
 parent, Live Nation, has coordinated efforts to foreclose competition in the Primary Ticket Market
 and the Secondary Ticket Market, in violation of the Cartwright Act, Cal. Bus. & Prof. Code §§
 16700 et seq.” TAC ¶ 430. Plaintiffs put forth six antitrust theories: (1) unlawful tying; (2)
 exclusive dealing; (3) price discrimination;16 (4) price fixing; (5) group boycotting; and (6) a
 market division scheme.
          The Cartwright Act “generally outlaws any combinations or agreements which restrain
 trade or competition or which fix or control prices ... and declares that, with certain exceptions,
 every trust is unlawful, against public policy and void.” In re Cipro Cases I & II, 61 Cal. 4th 116,
 136 (2015) (quoting Pac. Gas & Elec. Co. v. Cnty. of Stanislaus, 16 Cal. 4th 1143, 1147 (1997)
 (internal citations omitted)). “The analysis under California’s antitrust law mirrors the analysis



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       The Rowland factors are “a means for deciding whether to limit a duty derived from other sources.” Brown,
 11 Cal. 5th at 217. Such considerations include:
          the foreseeability of harm to the plaintiff, the degree of certainty that the plaintiff suffered injury,
          the closeness of the connection between the defendant’s conduct and the injury suffered, the moral
          blame attached to the defendant’s conduct, the policy of preventing future harm, the extent of the
          burden to the defendant and consequences to the community of imposing a duty to exercise care
          with resulting liability for breach, and the availability, cost, and prevalence of insurance for the risk
          involved.
 Id.
     16
        This is the only antitrust theory under which Plaintiffs do not claim that StadCo should also be found liable.
 See Notice of Dismissal of Certain Claims, Docket No. 150. Plaintiffs allege that all Defendants are liable under all
 of the other theories.

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 under federal law because the Cartwright Act ... was modeled after the Sherman Act.” Cnty. of
 Tuolumne v. Sonora Cmty. Hosp., 236 F.3d 1148, 1160 (9th Cir. 2001); see also Nova Designs,
 Inc. v. Scuba Retailers Ass’n, 202 F.3d 1088, 1092 (9th Cir. 2000) (“Our disposition of [the
 plaintiff’s] Sherman Act claims disposes of its claims under the California Cartwright Act. The
 Cartwright Act is patterned after the Sherman Act, and ‘federal cases interpreting the Sherman Act
 are applicable to problems arising under the Cartwright Act.’” (quoting Marin Cnty. Bd. of
 Realtors, Inc. v. Palsson, 16 Cal. 3d 920, 925 (1976)).
          Ticketmaster and Live Nation argue that Plaintiffs’ antitrust claims fail for the threshold
 reason that Plaintiffs “do not even purport to define any relevant antitrust market” and that each of
 Plaintiffs’ theories also fails because Plaintiffs have not pled essential elements. See MTD #1 at
 12. StadCo makes many similar arguments and also asserts that Plaintiffs have failed to make
 “any substantive allegations against StadCo.” See MTD #2 at 7-8.17
                         a. Market Definition
          “In order to state a valid claim under the Sherman Act, a plaintiff must allege that the
 defendant has market power within a ‘relevant market.’ That is, the plaintiff must allege both that
 a ‘relevant market’ exists and that the defendant has power within that market.” Newcal Indus.,
 Inc. v. Ikon Off. Sol., 513 F.3d 1038, 1044 (9th Cir. 2008). Still, “[t]here is no requirement that
 these elements of the antitrust claim be pled with specificity… [and] [a]n antitrust complaint
 therefore survives a Rule 12(b)(6) motion unless it is apparent from the face of the complaint that
 the alleged market suffers a fatal legal defect.” Id. “Allegations of a relevant market and market
 power generally pass the test at the pleading stage unless the market definition is ‘facially
 unsustainable.’” Biddle v. Walt Disney Co., 696 F. Supp. 3d 865, 882 (N.D. Cal. 2023) (citing
 Newcal, 513 F.3d at 1045).
          In Newcal, the Ninth Circuit stated the relevant market: (i) must be “a product market,” not
 one defined by consumers; (ii) must encompass the product as well as “all economic substitutes
 for the product”; and (iii) may include a submarket if it is “economically distinct from the general
 product market.” Newcal, 513 F.3d at 1045. Submarkets are identified by indicia like “industry
 or public recognition of the submarket as a separate economic entity, the product’s peculiar


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        The Court would note at the outset that the allegations against StadCo are generally threadbare. For instance,
 Plaintiffs fail to even allege that any particular plaintiff attempted to or actually purchased a ticket to see the Eras Tour
 at SoFi Stadium. See MTD #2 at 7; MTD #2 Opp. at 3-4. As discussed more fulsomely herein, Plaintiffs allegations,
 particularly in regard to StadCo, will need to be bolstered if their antitrust claims are to go forward.

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 characteristics and uses, unique production facilities, distinct customers, distinct prices, sensitivity
 to price changes, and specialized vendors.” Brown Shoe Co. v. United States, 370 U.S. 294, 325
 (1962). “Defining the relevant market requires identifying those competitors who have the actual
 or potential ability to deprive each other of significant levels of business… [but] [t]he process of
 defining the relevant market is [generally] a factual inquiry for the jury.” High Tech. Careers v.
 San Jose Mercury News, 996 F.2d 987, 990 (9th Cir. 1993).
        Market power may be demonstrated through two types of proof: (1) “direct evidence of the
 injurious exercise of market power [such as] evidence of restricted output and supracompetitive
 prices,” or (2) “circumstantial evidence” showing that “the defendant owns a dominant share of
 the market” and “there are significant barriers to entry.” Rebel Oil Co. v. Atl. Richfield Co., 51
 F.3d 1421, 1434 (9th Cir. 1995). A showing that the defendant has a market share of greater than
 65% typically is sufficient to “establish a prima facie case of market power.” Image Tech. Servs.,
 Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1206 (9th Cir. 1997). “Numerous cases hold that a
 market share of less than 50 percent is presumptively insufficient to establish market power,” but
 “[w]hen the claim involves attempted monopolization, most cases hold that a market share of 30
 percent is presumptively insufficient to establish the power to control price.” See Rebel Oil Co.,
 51 F.3d at 1438 (finding that a defendant’s “market share of 44 percent is sufficient as a matter of
 law to support a finding of market power, if entry barriers are high and competitors are unable to
 expand their output in response to supracompetitive pricing.”). “There is no authority which
 suggests that antitrust plaintiffs must explain in their complaints how they calculated market
 share… [and] [c]ourts have repeatedly held that a rough estimation of the defendant’s market
 share, with no explanation of how that estimation was made, is sufficient at the pleading stage.”
 Klein v. Facebook, Inc., 580 F. Supp. 3d 743, 778 (N.D. Cal. 2022).
        Ticketmaster and Live Nation argue that Plaintiffs’ market definitions for Primary Ticket
 Market and Secondary Ticket Market both fail because the customer base is not defined, the
 territory is not defined, whether primary and secondary tickets are substitutes for one another is
 not clear, and market power is boldly stated with no factual support. See MTD #1 at 12-14.
 Plaintiffs argue that they have “describe[d] a nationwide market for primary and secondary large
 concert ticket sales, and Defendants’ power in and acts to stifle competition in that market,” citing
 large swaths of the TAC. MTD #1 Opp. at 10. They further allude to United States et al v. Live
 Nation Entertainment, Inc. et al, Case No. 1:24-cv-03973-AS (S.D.N.Y.), a similar antitrust action


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 brought by the United States Department of Justice (“DOJ”) and Attorneys General from 39 states
 and the District of Columbia against Defendants in the United States District Court for the
 Southern District of New York (the “Public Enforcer Action”), in which they claim the market
 definitions are similar. Id.
         Plaintiffs allege in the TAC that “Ticketmaster and Live Nation have undertaken…
 anticompetitive conduct for the purpose of obtaining sales, resales, service and other fees and
 profits that they could not earn in a competitive market for either initial or secondary ticket sales.”
 TAC ¶ 2. Plaintiffs assert that, based on several published sources, Ticketmaster controls 70-80%
 of the Primary Ticket Market, id. ¶ 370, in part through exclusive agreements with venues, see id.
 ¶ 431, and it uses this dominance to “essentially force[] purchasers of tickets from its Primary
 Ticket Platform to use only Ticketmaster’s Secondary Ticket Exchange for the resale of those
 tickets,” see id. ¶¶ 375, 377, allowing Ticketmaster to dominate the secondary market as well.
 Plaintiffs assert that the Primary Ticket Market and Secondary Ticket Market are national, see,
 e.g., id. ¶ 446, that they are distinct and separate products, see, e.g., id. ¶ 434, and it appears clear
 throughout that the customer base is made up of fans.
         Defendants claim that the TAC does not address many of these issues, but it appears to do
 just that. Furthermore, because “[t]he process of defining the relevant market is [generally] a
 factual inquiry for the jury,” High Tech. Careers, 996 F.2d at 990, and “a rough estimation of the
 defendant’s market share, with no explanation of how that estimation was made, is sufficient at
 the pleading stage,” Klein, 580 F. Supp. 3d at 778, at this time, the Court will not require more
 from the Plaintiffs in terms of market definition.
                     b. Tying Claim
         “A tying arrangement is a device used by a seller with market power in one product market
 to extend its market power to a distinct product market … [by] condition[ing] the sale of one
 product (the tying product) on the buyer’s purchase of a second product (the tied product).”
 Cascade Health Sols. v. PeaceHealth, 515 F.3d 883, 912 (9th Cir. 2008). The Supreme Court has
 held that “the essential characteristic of an invalid tying arrangement lies in the seller’s exploitation
 of its control over the tying product to force the buyer into the purchase of a tied product that the
 buyer either did not want at all, or might have preferred to purchase elsewhere on different terms
 [because] [w]hen such ‘forcing’ is present, competition on the merits in the market for the tied
 item is restrained and the Sherman Act is violated.” Jefferson Par. Hosp. Dist. No. 2 v. Hyde, 466


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 U.S. 2, 12 (1984), abrogated on other grounds by Illinois Tool Works Inc. v. Indep. Ink, Inc., 547
 U.S. 28 (2006).
          Plaintiffs allege two distinct tying arrangements. Regarding the first, Plaintiffs allege that
 “Ticketmaster is tying the sale of Taylor Swift tickets sold in the Primary Market to Ticketmaster’s
 Secondary Ticket Exchange services for the resale of Taylor Swift tickets.” TAC ¶ 436. Regarding
 the second, Plaintiffs allege that “Ticketmaster also created a tying arrangement regarding the
 presale of tickets for Taylor Swift’s ‘The Eras’ tour in the Primary Ticket Market” by tying
 “Verified Fan Status” to the purchase of merchandise or a Lover Fest ticket. Id. ¶ 438-39.
          Ticketmaster and Live Nation assert that the first tie fails because it is premised on an
 “implausible single-brand market limited to ‘Taylor Swift tickets,’” and there is no “forced
 imposition of a second product,” as no one was “forced to resell their Taylor Swift primary tickets
 at all.” MTD #1 at 15. Furthermore, Plaintiffs admit that “[t]he TAC does not allege as fact that
 Ticketmaster was the sole authorized channel for the resale of tickets to The Eras Tour.” Sanctions
 Opp. at 8 (internal quotation marks omitted). Ticketmaster and Live Nation allege that the second
 tie fails because the alleged tying product market is incoherent, verified fan status is not a product,
 and no purchase was necessary to receive an access code.18 MTD #1 at 15-16. StadCo adds that
 the tying claims against StadCo fail because the claims do not allege that StadCo was involved in
 either alleged tie.
          Plaintiffs fail to substantively respond to Ticketmaster and Live Nation’s arguments. The
 Court finds that regarding the first tie, even if Plaintiffs were to expand the market beyond simply
 Taylor Swift tickets, there appears to be no forced purchase of a second product, as Plaintiffs have
 conceded, defeating the tie. Regarding the second tie, the tying product market is ill-defined and
 verified fan status does not appear to be a product for the purposes of a tying claim. The Motions
 to Dismiss are thus GRANTED with regard to both tying claims without leave to amend.
                       c. Exclusive Dealing Claim
          Exclusive dealing is a business practice whereby a supplier of a good contracts with a
 distributor to sell its products on an exclusive basis and to refrain from handling the products of
 rival suppliers. See Omega Env’t, Inc. v. Gilbarco, Inc., 127 F.3d 1157, 1162 (9th Cir. 1997).



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        Plaintiffs later conceded that no purchase was required to receive an access code. See Sanctions Opp. at 7
 (internal quotation marks omitted) (“The TAC does not allege as fact that there was no cost-free way to become a
 Verified Fan for The Eras Tour.”).

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 “The main antitrust objection to exclusive dealing is its tendency to ‘foreclose’ existing
 competitors or new entrants from competition in the covered portion of the relevant market during
 the term of the agreement.” Id. Because there are “well-recognized economic benefits to exclusive
 dealing arrangements, including the enhancement of interbrand competition,” id., “California
 courts have determined that vertical restraints of trade, including exclusive dealing contracts, are
 not per se unreasonable but instead are subject to a ‘rule of reason’ analysis,” Theme Promotions,
 Inc. v. News Am. Mktg. FSI, 546 F.3d 991, 1000 (9th Cir. 2008). An exclusive dealing contract is
 proscribed when it is “probable that performance of the contract will foreclose competition in a
 substantial share of the affected line of commerce.” Id. (internal quotation marks and citations
 omitted).
        Plaintiffs appear to allege that Defendants are guilty of exclusive dealing because “both
 [fans and artists] have agreed to virtually exclusive dealings with Ticketmaster that have lessened
 competition as well as created and strengthened Ticketmaster’s monopolistic power, which
 violates California law.” TAC ¶ 445. They assert that such exclusive dealings “and the willing
 complicity therein by venues such as SoFi Stadium, have allowed it and them to charge above-
 market prices and excessive fees.” Id. ¶ 447. Ticketmaster and Live Nation argue that Plaintiffs
 vague allegations are not sufficient, even at the pleading stage, and that they do not have standing
 to make such an argument in any case. MTD #1 at 16. StadCo adds that Plaintiffs have failed to
 clarify the market and which parties have been foreclosed from entering it. MTD #2 at 11.
 Plaintiffs respond to the standing argument, but they make no effort to clarify why they have
 alleged enough specific facts to avoid dismissal. See MTD Opp. #1 at 11-12. While this Court
 has already found antitrust standing to be satisfied under similar circumstances, see Skot Heckman
 et al v. Live Nation Entertainment, Inc. et al, Case No. 2:22-cv-00047-GW-GJS, Docket No. 314,
 the Court would agree with Ticketmaster and Live Nation that, as the allegations stand, it is not
 clear what agreement gives rise to the exclusive dealing claim. While Plaintiffs reference
 elsewhere in their brief the “numerous multi-year, exclusive contracts with leagues, teams,
 managers and venues” that Ticketmaster has entered into, TAC ¶ 487, those do not appear to be
 the agreements at the heart of the exclusive dealing claim, as they are not mentioned in that section
 of the TAC. It is not clear to the Court what agreements between Ticketmaster and artists and fans
 the TAC is referring to. Furthermore, if Plaintiffs are referring to an exclusive ticketing agreement
 simply between StadCo and Ticketmaster, that is unlikely to amount to an antitrust violation. See


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 Tampa Elec. Co. v. Nashville Coal Co., 365 U.S. 320, 327 (1961) (“In practical application, even
 though a contract is found to be an exclusive-dealing arrangement, it does not violate the section
 unless the court believes it probable that performance of the contract will foreclose competition in
 a substantial share of the line of commerce affected.”); see also Omega Env’t, Inc., 127 F.3d at
 1162. The Motions to Dismiss are thus GRANTED with regard to the exclusive dealing claim
 with leave to amend.
                     d. Price Discrimination Claim
         California Business & Professions Code § 17031 defines locality discrimination as
         discrimination between different sections, communities or cities or portions
         thereof, or between different locations in such sections, communities, cities or
         portions thereof in this State, by selling or furnishing an article or product, at a
         lower price in one section, community or city, or any portion thereof, or in one
         location in such section, community, or city or any portion thereof, than in another.
 Cal. Bus. & Prof. Code § 17031.
         The TAC alleges that Ticketmaster breached this provision when it charged fans
 significantly different prices for “seats that have about the same view of the musician, at the same
 venue, and with the same amount of VIP benefits.” TAC ¶ 455. Plaintiffs assert that it is unlawful
 for Plaintiffs to raise prices “as fewer tickets remain,” id. ¶ 457, and that its behavior benefits
 scalpers who resell the tickets for significant profits, id. ¶ 458.
         Ticketmaster and Live Nation argue that the statute is wholly unapplicable as “it has
 nothing to do with dynamic online ticket pricing,” MTD #1 at 18, and simply “bars discrimination
 in sales to different geographic locations,” id. (quoting Big Bear Lodging Ass’n v. Snow Summit,
 Inc., 182 F.3d 1096, 1104 (9th Cir. 1999)). The Court agrees with Ticketmaster and Live Nation
 that this statute was not intended to protect consumers from the harm alleged here, and Plaintiffs
 have cited to no case in which this statute was applied in a similar fashion. Ticketmaster’s and
 Live Nation’s Motion to Dismiss is GRANTED with regard to the price discrimination claim
 without leave to amend.
                     e. Price Fixing Claim
         “Restraints imposed by agreement between competitors have traditionally been
 denominated as horizontal restraints, and those imposed by agreement between firms at different
 levels of distribution as vertical restraints.” Bus. Elecs. Corp. v. Sharp Elecs. Corp., 485 U.S. 717,
 730 (1988). Both horizontal and vertical “price-fixing agreements are unlawful on their face.”
 Arizona v. Maricopa Cnty. Med. Soc., 457 U.S. 332, 342 (1982). “The aim and result of every

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 price-fixing agreement, if effective, is the elimination of one form of competition… [and] [t]he
 power to fix prices, whether reasonably exercised or not, involves power to control the market and
 to fix arbitrary and unreasonable prices.” United States v. Trenton Potteries Co., 273 U.S. 392,
 397 (1927). “Plaintiff, in order to succeed on a… price-fixing claim, must prove that there is a
 conspiracy or a concerted action between two or more actors to fix prices and that the price-fixing
 conspiracy is illegal pursuant to the applicable legal standard.” Lucas v. Citizens Commc’ns Co.,
 409 F. Supp. 2d 1206, 1218 (D. Haw. 2005), aff’d, 244 F. App’x 774 (9th Cir. 2007). There must
 be “enough fact to raise a reasonable expectation that discovery will reveal evidence of illegal
 agreement.” Twombly, 550 U.S. at 556.
        Plaintiffs claim that Ticketmaster has engaged in both horizontal and vertical price fixing.
 Plaintiffs appear to allege that Ticketmaster enters into horizontal price fixing agreements with
 scalpers, venues, and competing primary ticket sellers, claiming that “Ticketmaster’s conduct of
 allying with scalpers and venues such as SoFi Stadium has amounted to price fixing,” TAC ¶ 463,
 and further asserting that “[b]ecause Ticketmaster has competitors like SeatGeek charge ticket
 prices at the same cost as Ticketmaster, it prevents buyers from being able to find a cheaper
 alternative.” Id. ¶ 464. In terms of vertical prince fixing, Plaintiffs allege that Ticketmaster
 “essentially forces buyers to resell on its platform… [and] controls what prices the buyer can resell
 at.” Id. ¶ 466.
        Ticketmaster and Live Nation assert that all price fixing arguments fail because Plaintiffs
 have failed to allege with any particularity the existence of an agreement. MTD #1 at 18-19.
 StadCo reiterates the particularity argument and asserts more broadly that alleged agreements
 between Ticketmaster and rival ticketing companies or scalpers have nothing to do with StadCo.
 MTD #2 at 11-13. Plaintiffs respond by citing to large swaths of the TAC and assert they need
 only present enough facts taken as true to suggest an agreement was made. MTD Opp. #1 at 13
 (citing Twombly, 550 U.S. at 556).
        Firstly, the Court does not fully understand what Plaintiffs are claiming constitutes
 horizontal price discrimination and what constitutes vertical price discrimination. Horizontal price
 discrimination requires an agreement between competitors; thus, while it at least makes sense to
 claim that SeatGeek and Ticketmaster have engaged in horizontal price fixing, see TAC ¶ 464, the
 Court does not understand how Ticketmaster can engage in horizontal price fixing with scalpers
 and venues, see TAC ¶ 463. Secondly, the allegation that Ticketmaster engaged in price fixing


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 with SeatGeek is lacking. “Without more, parallel conduct does not suggest conspiracy, and a
 conclusory allegation of agreement at some unidentified point does not supply facts adequate to
 show illegality.” Twombly, 550 U.S. at 544; see also Freeman v. San Diego Ass’n of Realtors, 77
 Cal. App. 4th 171, 189 (1999) (“A general demurrer will be sustained where the complaint makes
 conclusory allegations of a combination and does not allege with factual particularity that separate
 entities maintaining separate and independent interests combined for the purpose to restrain
 trade.”). Here, Plaintiffs do not even allege facts to demonstrate parallel conduct, and their
 allegation of an agreement is conclusory.
        Plaintiffs’ vertical price fixing allegations are also insufficient.       They assert that
 Ticketmaster “essentially forces” buyers to resell on its platform and “controls what prices the
 buyer can resell at.” TAC ¶ 466. This allegation lacks factual backing and appears to contradict
 Plaintiffs’ admission that “[t]he TAC does not allege as fact that Ticketmaster was the sole
 authorized channel for the resale of tickets to The Eras Tour.” Sanctions Opp. at 8 (internal
 quotation marks omitted). Plaintiffs will need to clarify this claim. Furthermore, in any price
 fixing scheme, the involvement of StadCo is not particularly clear. The Motions to Dismiss are
 thus GRANTED with regard to the price fixing claim with leave to amend. In a potential amended
 complaint, Plaintiffs would do well to provide more detail on these alleged agreements and also
 clarify whether they are alleging that Ticketmaster’s alleged agreements with venues, such as SoFi
 Stadium, amount to price fixing and how that is the case.
                    f. Group Boycotting Claim
        “The classic ‘group boycott’ is a concerted attempt by a group of competitors at one level
 to protect themselves from competition from non-group members who seek to compete at that
 level.” City of Oakland v. Oakland Raiders, 20 F.4th 441, 453 n.5 (9th Cir. 2021) (internal
 quotation marks and citation omitted). Plaintiffs allege that “Ticketmaster has engaged in a group
 boycott with competitors like SeatGeek in its relevant market to refuse to conduct business with
 any competitor that does not conform to Ticketmaster’s demands.” TAC ¶ 472. Once again, as
 Defendants assert, this allegation is far from sufficient; it is not at all clear what Ticketmaster’s
 demands are, what it means to “refuse to conduct business with any competitor,” or even who has
 signed on to these alleged agreements. The Motions to Dismiss are thus GRANTED with regard
 to the group boycotting claim with leave to amend.
                    g. Market Division Scheme Claim


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          “Horizontal market division refers to an agreement between competitors or potential
 competitors to divide territories, customers, or products among themselves. Such conduct is per se
 illegal, as has been repeatedly stated by both federal and California courts.” § 9:43. Antitrust
 violations—Prohibited practices—Horizontal market division, The Rutter Group-California
 Criminal Law § 9:43 (2024-2025 ed.). Plaintiffs allege that Ticketmaster has “specifically carved
 out small territories to give to competitors like SeatGeek in an attempt to hide the level of
 monopolistic power and control Ticketmaster has,” demanding in return that SeatGeek “set price
 tickets at the same high price as Ticketmaster.” TAC ¶ 479. Once again, Plaintiffs have failed to
 allege any facts that would “nudge[] their claims across the line from conceivable to plausible,”
 particularly as “parallel conduct does not suggest conspiracy,” Twombly, 550 U.S. at 544, 547, and
 the Motions to Dismiss are thus GRANTED with regard to the market division scheme claim with
 leave to amend.
                       h. Conclusion
          While Plaintiffs have alleged a coherent market, they have failed to plead any of their
 antitrust theories with the requisite particularity or clarity. This is particularly so with regard to
 StadCo. See, e.g., Kidron v. Movie Acquisition Corp., 40 Cal. App. 4th 1571, 1590 (1995) (“An
 entity that engages in legitimate business with a party that is acting tortiously cannot be deemed a
 co-conspirator, absent clear evidence of an agreement to join in the tortious conduct.”). Plaintiffs
 will need to amend as discussed above if this claim is to go forward.19
              5. UCL Claim
          Finally, Plaintiffs, alleging similar acts of wrongdoing as alleged elsewhere in the TAC,
 claim that Defendants’ allegedly unfair, unlawful, and fraudulent practices constitute a breach of
 the UCL. TAC ¶¶ 485-96. To state a claim under the UCL, a plaintiff must “establish that the
 practice is either unlawful (i.e., is forbidden by law), unfair (i.e., harm to victim outweighs any
 benefit) or fraudulent (i.e., is likely to deceive members of the public).” Albillo v. Intermodal
 Container Servs., Inc., 114 Cal. App. 4th 190, 206 (2003).
          As the Court has granted the Motion on the previous claims, a UCL claim based on the
 unlawful prong or the fraudulent prong both fail. See, e.g., In re Dynamic Random Access Memory
 (DRAM) Indirect Purchaser Antitrust Litig., 28 F.4th 42, 54 n.7 (9th Cir. 2022) (dismissing a UCL


     19
       The Court would not at this time find such amendment to necessarily be futile. See Skot Heckman et al v. Live
 Nation Entertainment, Inc. et al, Case No. 2:22-cv-00047-GW-GJS, Docket No. 314.

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 based on the existence of an antitrust conspiracy, when the allegations of such a conspiracy were
 found to be inadequately pled); see also MTD Opp. #1 at 14 (“The motion concedes that this UCL
 prong ‘rise[s] and fall[s]’ with the violations of contract, misrepresentation, negligence and
 antitrust alleged.”); id. at 15 (conceding that the same 9(b) standard as applied to fraud claims
 above applies here). Thus, the only remaining UCL claim is under the “unfair” prong.
           The Court will first consider whether this claim can go forward at all, considering that in
 Sonner v. Premier Nutrition Corp., the district court determined and the Ninth Circuit affirmed
 that the plaintiff must “establish that she lacks an adequate remedy at law before securing equitable
 restitution for past harm under the UCL and CLRA” because “[i]t is a basic doctrine of equity
 jurisprudence that courts of equity should not act ... when the moving party has an adequate remedy
 at law.” 971 F.3d 834, 844 (9th Cir. 2020) (internal citations omitted). Defendants assert that
 Plaintiffs have not alleged that they lack an adequate remedy at law. MTD #1 at 21. Plaintiffs
 respond that “to the extent Defendants contend that plaintiffs must plead they lack an adequate
 remedy at law, an injunction against future violations is proper precisely because damages cannot
 fully compensate such harm.” MTD #1 Opp. at 15 (citing TAC ¶ 495 (“Defendants’ deceptive
 practices are ongoing and continue to date and should be enjoined by this Court.”)).20 The Court
 would find, much like that in Stafford v. Rite Aid Corp., No. 3:17-cv-01340-TWR-AHG, 2023 WL
 2876109, at *4 (S.D. Cal. Apr. 10, 2023) that Plaintiffs’ claims are “facially deficient and warrant
 dismissal” because the “Third Amended Complaint does not even contain the phrase ‘inadequate
 remedy at law.’” See also Adams v. Cole Haan, LLC, No. 8:20-cv-00913-JWH-DFM, 2020 WL
 5648605, at *2 (C.D. Cal. Sept. 3, 2020) (explaining the “clear rule in Sonner” is “that plaintiffs
 must plead the inadequacy of legal remedies before requesting equitable relief”). In a future
 amended complaint, Plaintiffs must demonstrate why an injunction would provide Plaintiffs with
 relief that money damages could not remedy. See Franckowiak v. Scenario Cockram USA, Inc.,
 No. 2:20-cv-08569-JFW-PVC, 2020 WL 9071697, at *3 (C.D. Cal. Nov. 30, 2020) (holding that
 because “Plaintiff’s UCL allegations [seeking injunctive relief] are predicated on the identical
 wage and hour violations alleged in Plaintiff’s” other cause of action, “Plaintiff has not, and cannot,
 successfully allege that her legal remedies are inadequate [as] her claims for restitution and
 injunctive relief are premised on the allegedly unpaid wages (i.e., a legal remedy).”).


    20
         Plaintiffs appear to drop their claim for restitution under the UCL.



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        Defendants’ Motions with regard to the UCL claim are GRANTED with leave to amend.
 IV.    Conclusion
        Based on the foregoing discussion, the Court GRANTS the Motions with leave to amend
 in part, with the exception that the Court will entertain further argument on the negligence claim
 at the hearing.




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